          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                       CRIMINAL NO. 3:01CR11-2


UNITED STATES OF AMERICA                  )
                                          )
                                          )
                 VS.                      )            ORDER
                                          )
                                          )
TERRY W. STEWART                          )
                                          )


     THIS MATTER is before the Court on the Defendant’s pro se motion

to alter or amend this Court’s Order denying his motion for relief from

judgment pursuant to Fed. R. Crim. P. 60(b). See Order filed February

14, 2007.

     Finding no merit in the Defendant’s motion to alter or amend,

     IT IS, THEREFORE, ORDERED that the Defendant’s motion to alter

or amend is hereby DENIED.

                                      Signed: March 5, 2007




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